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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                      x
PETER PAUL BIRO,                                      :   Index No. 11 CV 04442 (JPO)
                                                      :
                             Plaintiff,               :   ECF Case
                   against                            :

CONDÉ NAST, a division of ADVANCE                     :
MAGAZINE PUBLISHERS INC. and DAVID                    :
GRANN,
                                                      :
                             Defendants.              :
                                                      x




                 MEMORANDUM IN SUPPORT OF MOTION TO
                 DISMISS PLAINTIFF’S AMENDED COMPLAINT




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                                 PRELIMINARY STATEMENT

        Plaintiff Peter Paul Biro (“Biro”) professes to be a self trained expert in fingerprint

analysis. He has captured worldwide attention by claiming to find similarities between

fingerprints on unknown artwork and fingerprints on masterpieces by such famous artists as

Leonardo da Vinci, JMW Turner and Jackson Pollock. In this defamation action, Biro seeks to

punish a journalist for publishing in The New Yorker a factually accurate report exploring his

role at the center of an ongoing rivalry between connoisseurship and science in art

authentication. The article reviewed Biro’s techniques, explored his key role in the purported

authentication of several disputed paintings, and surveyed accusations of misconduct that have

trailed him for decades. The article was extensively researched and thoroughly vetted—

including with Mr. Biro himself.

        Because the article is entirely accurate, the Amended Complaint (“Complaint” or

“Compl.”) advances primarily a claim for libel by implication—alleging that the presentation of

true facts nonetheless falsely implies Biro is guilty of fraud and incompetence. The Complaint

alleges that 16 different statements, and the article as a whole, implicitly level these accusations

through their tone and manner of editing otherwise “objective facts,” and through the supposed

omission of various facts. The effort is entirely unavailing.

        The alleged accusations of fraud and incompetence by the author are not reasonably read

into the article. Its tone is inquisitive, not accusatory, and the article takes no position on the

validity of Biro’s purported authentications. It explores, in context, a number of questions raised

by Biro’s critics and provides his responses in every instance. Nothing in the article conveys a

direct accusation of wrongdoing, and nothing indicates an intent by the author to endorse or

adopt such an accusation implicitly. Any defamatory inference a reader might draw from the

true facts presented is therefore not actionable, regardless of the tone or structure of the article.


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       Moreover, many of the false implications the article is alleged to convey arise from its

description of claims made against Biro in various lawsuits. But fair reports of judicial

proceedings are absolutely privileged against claims of libel, and the article’s reports are

indisputably fair and true. Likewise, most of the “omitted” facts that allegedly give rise to false

implications are actually not omitted, and none would change the meaning of the true facts

presented. Under both the First Amendment and Article I, Section 8 of the New York

Constitution, no claim for libel can be based upon substantially true statements in an article on a

matter of public concern. Absent an allegation of a non privileged false fact or a material

omitted fact, Biro has no claim for libel by implication.

       Desperate to assert some claim, the Complaint thus strains to identify statements it can

allege to be false, but each challenged statement is either non defamatory on its face, non

actionable opinion, or fully protected as a fair report of a judicial proceeding. A straight forward

application of well settled legal principles readily demonstrates that none of the allegations in

Biro’s blunderbuss Complaint is capable of sustaining a libel claim.

       Unlike the carefully fact checked article, the Complaint is riddled with error and

misstatement, including allegations of falsity that contradict Biro’s own published statements,

allegations of omitted facts that are fully disclosed in the article, and carefully parsed allegations

that malign the article publicly without stating any cause of action. Plaintiff should not be

permitted to inflict the burdens, distractions and costs of litigating a claim advanced on such

deceptive and patently insufficient allegations. Even accepting as true the terribly misleading

allegations advanced by Mr. Biro, his amended pleading fails to state any claim as a matter of

law, and his Complaint should promptly be dismissed, in its entirety, with prejudice.




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                                          BACKGROUND1

A.      The Parties

        Plaintiff Peter Paul Biro is a self described “leading authority” in “the use of fingerprint

technology” to authenticate works of art. (Compl. ¶¶ 5, 9.) He has long placed himself at the

center of the debate on the value of fingerprint analysis in art authentication. According to the

Complaint, Biro “has lectured at Harvard University, the Yale Club in New York, the National

Portrait Gallery in London, and the University of Glasgow in Scotland,” among others and “has

. . . published articles in scientific journals, including one entitled ‘Forensics and Microscopy in

Authenticating Works of Art’ in the journal of the Royal Microscopical Society, Oxford,

England.” Id. ¶ 10. Biro also “has been interviewed for a feature length documentary “Who the

#$&% is Jackson Pollock?,” two BBC documentaries, CBS’s 60 Minutes, CNN, and a

forthcoming documentary produced by the National Geographic Society.” Id.

        Defendant Advance Magazine Publishers Inc. publishes a number of magazines,

including The New Yorker, a weekly magazine that includes reporting on politics and culture,

humor and cartoons, fiction and poetry, and reviews and criticism. Defendant David Grann

(“Grann”) is an award winning journalist who has written many articles for The New Yorker. He

is the recipient of a George Polk Award and the Society of Professional Journalists’ award for

outstanding investigative reporting in the magazine category, among other awards. Grann has

been a finalist for two National Magazine Awards, including one for the article at issue here.

B.      The New Yorker Article

        The Complaint challenges an article written by Grann and published in The New Yorker

in the July 12 & 19, 2010 issue, entitled “The Mark of a Masterpiece: The man who keeps


1
 Defendants accept the Complaint’s allegations as true, as they must, solely for purposes of this motion.
E.g., Van Buskirk v. New York Times Co., 325 F.3d 87, 89 (2d Cir. 2003).


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finding famous fingerprints on uncelebrated works of art” (the “Article”).2 A thoroughly

researched piece of investigative journalism, the Article explores the ongoing controversy over

the role of fingerprint analysis in the authentication of artworks. It features Biro as a leading

advocate for the use of fingerprints in authenticating art, with an intense desire “to transform the

authentication process through science.” (Article at 9 10.)

        The first half of the Article explores the debate between “connoisseurship” and “science”

through the history of several famous authentication controversies in which Biro played a role. It

begins with a debate that has raged over “La Bella Principessa,” a drawing believed by some to

be the work of Leonardo da Vinci. In the midst of this raging debate, Biro claimed to find seven

different characteristics of a fingerprint on the drawing that overlapped those of a fingerprint he

found on Leonardo’s “St. Jerome” in the Vatican—similarities that suggested the drawing is a

genuine Leonardo.

        The Article presents the details surrounding a number of other apparent authentications

achieved through Biro’s fingerprint analysis. One case involved a painting in the style of

Jackson Pollock, which was bought by truck driver Teri Horton for $5 at a thrift shop. Biro says

he discovered a fingerprint on that painting that matches one he found on a paint can in Pollock’s

studio, an apparent authentication that was trumpeted in the international press and documented

in a feature length motion picture, “Who the #$&% is Jackson Pollock?” (Id. at 12.)

        Another case involved Biro’s apparent authentication of a painting owned by his family

as the work of JMW Turner—an authentication accomplished by matching a fingerprint on the

painting to one Biro found on a work by Turner hanging in the Tate Gallery in London. Biro’s

2
 The Article is annexed as Exhibit A to the Complaint (see Dkt. No. 17 1), and its content may properly
be considered by the Court on this motion to dismiss. DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104,
111 (2d Cir. 2010) (on motion to dismiss court may consider “facts alleged in the complaint, documents
attached to the complaint as exhibits, and documents incorporated by reference in the complaint”).


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painting then sold at auction for more than $150,000 and became known as “the first art work

officially authenticated based on fingerprint identification.” (Id. at 11.)

       After reviewing Biro’s many apparent successes, the Article catalogs a number of

questions that have been raised about Biro and his purported authentications. Among these are

persistent claims of fraud and deceit advanced in lawsuits, such as:

       •   Allegations by a creditor that Biro operated through defunct companies to evade his
           debts. (Id. at 16.)

       •   Allegations by two clients (the Wise Brothers) that Biro had sold them two purported
           paintings by Goodridge Roberts that were actually fakes. (Id. at 16 18.)

       •   Allegations by another client (Saul Hendler) that Biro had induced him to invest in a
           painting apparently by Renoir, and refused to refund his money when the painting
           was determined to be a fake. (Id. at 18 19.)

       •   Allegations by a client (Canadian Sen. Serge Joyal) that Biro refused to return art left
           in his care, offered an implausible explanation of a purported theft, and then refused
           to provide reimbursement. (Id. at 19.)

In each instance, the Article reviews the allegations made in the lawsuits and accurately depicts

their outcomes. The Article also laid out the circumstances surrounding Biro’s claimed

discovery at Jackson Pollock’s studio of gold paint particles and acrylic paint that he said was

consistent with paint on the Horton painting. And it describes Biro’s involvement with an art

dealer who had previously been convicted of art fraud in a proposed investment vehicle known

as Provenance. Among other things, Provenance planned to purchase the Horton painting for $4

5 million and resell it for at least $40 million, and to open an art gallery in Manhattan that would

specialize in the sale of art works that were to be authenticated by Biro. (Id. at 20.)

       The exhaustively researched Article includes comments from more than thirty named

sources and two unnamed, confidential sources. In the course of more than six months of

research, Mr. Grann spoke with Mr. Biro, his family members, professional colleagues and

clients, reviewed vast amounts of information obtained from court records, and conducted


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interviews with art historians, artists, scholars, fingerprint experts, chemists and law enforcement

personnel. Some of those interviewed leveled pointed criticisms at Biro. Before publication,

Grann presented each of those directly to Biro, and the Article contains Biro’s explanations and

counter charges.

        The Article presents a detailed and truthful portrait of Biro, without agenda or bias. It

does not claim to reach any conclusion about the value of Biro’s work. It does not take sides in

the debate over the use of fingerprint analysis in art authentication. And it does not accuse Biro

of fraud or criminal conduct. It simply lays out the known facts in a thought provoking manner.

C.      The Amended Complaint

        Biro’s amended pleading attacks virtually every aspect of the Article, including the

author’s motive and good faith.3 It purports to assert two causes of action. Count I asserts a

claim for libel, contending that the Article, “[t]hrough selective omission, innuendo and

malicious sarcasm . . . implies that plaintiff finds fingerprints where they do not exist,” that Biro

is “dishonest and incompetent in his profession,” and that he “was guilty of crimes, of fraudulent

conduct and of deceit.” (Compl. ¶¶ 22 23, 162 166.) This claim rests on Biro’s contentions that

omissions and editing choices caused many parts of the Article to convey a false implication, and

the claim that a handful of statements are actually false. (Id. ¶¶ 47 134.) Count II purports to

assert a claim for injurious falsehood, based on the very same factual allegations. (Id. ¶ 172.)


3
  The Complaint misuses the forum provided by this Court to take a scurrilous swipe at Grann, accusing
him of “defamatory propensities” because he was once sued for libel and the Complaint survived a
motion to dismiss. (Compl. ¶ 138.) The Second Circuit has repeatedly held that such preliminary rulings
are immaterial, not to be cited in complaints, and properly stricken from pleadings under Fed. R. Civ. P.
12(f). See In re Merrill Lynch & Co. Inc Research Reports Sec. Litigation, 218 F.R.D. 76, 78 (S.D.N.Y.
2003). The allegation about Grann is all the more improper because it brazenly misrepresents the prior
litigation—the court did not find the article at issue to be defamatory and made no findings about Grann.
Indeed, the plaintiff walked away from that meritless action before proceeding to discovery. See Weyrich
v. New Republic, Inc., Case No. 99 1213 (TPJ), Dkt. No. 45 (Order anticipating dismissal with prejudice
because plaintiff “indicated an intention to abandon the case” and failed to proceed with discovery).


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        Through a lengthy and inconsistent list of criticisms about the tone and content of the

Article, the Complaint purports to identify 16 separate statements that allegedly convey the false

implications that Biro is a fraud, has knowingly sold fake art, and is incompetent at art

authentication. (E.g., Compl. ¶¶ 57, 68, 74, 82, 85, 92, 108, 119, 121, 126, 128, 133.) The

Complaint alleges that another 8 statements contain false facts, pointing to such statements as the

terms “con man” and a “shyster” used by litigation adversaries and others to refer to Biro.4

        In advancing these claims, the Complaint avers that Biro is “not a public figure” for

purposes of libel law (Id. ¶ 38), but its own allegations confirm that he is: The allegations

establish that Biro has voluntarily injected himself into the controversy over the use of

fingerprints in art authentication and gained international notoriety for his role in advocating

greater use of science to authenticate art. See, e.g., id. ¶¶ 9 10 (describing Biro’s role, among

other things, as a lecturer and author on the subject, a central figure in a feature length

documentary and a sought out figure by news organizations). Although the issue need not yet be

decided, Biro is plainly a public figure for purposes of this libel claim and to succeed will need

to establish constitutional malice.5




4
 While the Complaint is wordy and not entirely consistent, the 24 discrete allegations of defamation we
have been able to discern in the Complaint, together with defendants’ grounds for moving to dismiss
each, are summarized in the annexed Addenda for the Court’s convenience: Addendum A identifies the
challenged statements that are privileged under New York law; Addendum B identifies the non privileged
allegedly false facts, and Addendum C identifies non privileged allegedly false implications.
5
 A plaintiff may be found to be a public figure within a limited community. See, e.g., Chandok v. Klessig,
648 F. Supp. 2d 449, 459 (N.D.N.Y. 2009) (scientific researcher “well known within the plant biology
community” a public figure for purposes of criticism of her work), aff’d, 632 F.3d 803 (2d Cir. 2011).


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        Regardless of Biro’s status as a public figure, none of the myriad allegations advanced in

the Complaint is remotely sufficient to state a claim for libel, and the Complaint should be

dismissed with prejudice,6 as will now be demonstrated.

                                            ARGUMENT

        To protect public debate and safeguard freedom of the press, New York courts have long

favored dismissal of libel claims at the earliest possible stage of the proceedings. Dispositive

motions are recognized to hold “particular value, where appropriate, in libel cases, so as not to

protract litigation through discovery and trial and thereby chill the exercise of constitutionally

protected freedoms.” Armstrong v. Simon & Schuster, Inc., 85 N.Y.2d 373, 379 (1995). To

delay the disposition of a libel action unnecessarily “is not only to countenance waste and

inefficiency but to enhance the value of such actions as instruments of harassment and coercion

inimical to the exercise of First Amendment rights.” Immuno AG. v. Moor Jankowski, 145

A.D.2d 114, 128 (1st Dep’t 1989), aff’d, 77 N.Y.2d 235 (1991).

        On the facts alleged, such prompt relief is plainly appropriate in this case.

                               I.
        THE AMENDED COMPLAINT FAILS TO STATE ANY CLAIM FOR
     REPORTING ALLEGATIONS MADE AGAINST BIRO IN PRIOR LAWSUITS

        As a threshold matter, many of Biro’s claims of both libel by implication and direct

falsity arise out of the Article’s discussion of charges of fraud and deceit that have been leveled

against him in myriad lawsuits. (See Addendum A.) Biro’s claims of libel arising from the

Article’s discussion of these lawsuits are unambiguously barred by the fair report privilege

provided by New York Civil Rights Law Section 74 (“Section 74”).

6
  At a pre motion conference on September 6, 2011, Judge Berman directed Biro to amend his complaint
to address deficiencies raised by defendants’ pre motion request for a conference, and further directed
that the ruling on a subsequent motion to dismiss the amended complaint would be decided “with
prejudice” and without further leave to amend.


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        Section 74 provides that a “civil action cannot be maintained against any person, firm or

corporation, for the publication of a fair and true report of any judicial proceeding, legislative

proceeding or other official proceeding.” N.Y. Civ. Rights Law § 74.7 This privilege exists to

enable journalists to report on official proceedings without fear that they will be held liable for

repeating allegations and statements relating to those proceedings, regardless of whether the

allegations are true or false. See, e.g., Gurda v. Orange Cnty. Publ’ns Div. of Ottaway

Newspapers, Inc., 81 A.D.2d 120, 130 33 (2d Dep’t 1981) (Mollen and Titone, JJ., dissenting),

rev’d, 56 N.Y.2d 705 (1982);8 see also 1 SACK ON DEFAMATION § 7.3.5 (4th ed. 2011)

(underlying “truth” is “irrelevant” under fair report privilege). Once the privilege attaches, it can

be defeated only by a showing that the statements at issue so mischaracterize the allegations

made in the context of an official proceeding that they cannot be considered “fair and true”

within the meaning of the statute. Beary v. West Publ’g Co., 763 F.2d 66, 68 (2d. Cir. 1985).

        Whether challenged statements are privileged under Section 74 is a question of law for

the court. See, e.g., Holy Spirit Ass’n for Unification of World Christianity v. New York Times

Co., 49 N.Y.2d 63, 67 68 (1979) (hereinafter “Holy Spirit”). In making this determination, the

privilege is to be liberally applied because a published account “is, by its very nature, a

condensed report of events which must, of necessity, reflect to some degree the subjective

viewpoint of its author.” Id. at 68; see Becher v. Troy Publ’g Co., 183 A.D.2d 230, 233 (3d

Dep’t 1992) (privilege applied “to provide broad protection to news accounts”).



7
 Section 74 fully applies to reports of official proceedings in foreign fora, such as the Canadian litigation
discussed in the Article. See, e.g., Daniel Goldreyer, Ltd v. Van de Wetering, 217 A.D.2d 434, 435 (1st
Dep’t 1995) (statements from Dutch Ministry of Justice subject to Section 74 privilege).
8
 The Second Department’s holding in Gurda was reversed by the Court of Appeals for the reasons stated
by Justices Mollen and Titone in their dissent. See Gurda v. Orange Cnty. Publ’ns Div. of Ottaway
Newspapers, Inc., 56 N.Y.2d 705 (1982).


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       A publication therefore “need not be a verbatim account or even a precisely accurate

report of an official proceeding to be a ‘fair and true report.’” Freeze Right Refrig. & Air Cond.

Servs., Inc. v. City of New York, 101 A.D.2d 175, 183 (1st Dep’t 1984). Nor do allegations that

editorial choices have made a report “unbalanced” defeat the privilege. Gotbetter v. Dow Jones

& Co., 259 A.D.2d 335, 335 36 (1st Dep’t 1999); see also Glendora v. Gannett Suburban

Newspapers, 201 A.D.2d 620, 620 21 (2d Dep’t 1994) (privilege applies to report that does not

present plaintiff’s “side”); McDonald v. E. Hampton Star, 10 A.D.3d 639, 639 40 (2d Dep’t

2004) (omission of information favorable to plaintiff does not defeat privilege). A report

remains privileged so long as “the substance of the article” is “substantially accurate.” Holy

Spirit, 49 N.Y.2d at 67.

       Applying these standards, Section 74 undeniably bars all of Biro’s claims based upon the

Article’s explanations of the various lawsuits against him. The Complaint makes no claim that

any description is substantially untrue and identifies no material omitted fact that would change

the gist of the report, as a review of the pleading makes abundantly clear.

       In two instances, Biro contends that allegations made in the underlying lawsuits were

false, not that there was any error in reporting them. These include his claims that:

       •   Stating “[a]n owner of a picture frame company alleged that the Biros had issued
           checks that bounced and had operated ‘under the cover’ of defunct companies ‘with
           the clear aim of confusing their creditors” is “false and defamatory.” (Compl. ¶¶ 64
           66.)

       •   Stating that there are “‘two instances’” of art work that Biro failed to return to their
           owners “under mysterious circumstances” is false and defamatory because there was
           only one such incident. (Id. ¶¶ 93, 98 99.)

The first statement simply repeats—almost verbatim—an allegation made against Biro in a

creditor suit. See Grann Declaration, Ex. E, Affidavit of Bernard Desroches ¶ 11, filed in

Encadrements Marcel Inc. v. 112321 Canada Inc. et Peter Paul Biro (stating that Biro “either



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personally or under cover of the corporate names dissolved” acted “in an obvious effort to

confuse their creditors and escape their obligations to those creditors”).9 The second statement

adverts to two separate lawsuits arising out of Biro’s failure to return artwork entrusted to his

care. See Grann Decl., Ex. A, Declaration filed in Joyal v. 112320 Canada Inc. et Biro, ¶¶ 5 6

(alleging that Biro claimed plaintiff’s artwork had been stolen from his car, but suggested they

delay making report to the police, “which seemed very suspect in the circumstances”); and

Grann Decl. Ex. B, Affidavit of Charles Desmarteau ¶¶ 1 30, filed in Desmarteau v. Biro

(alleging that Biro claimed to have sold a painting of plaintiff’s (without permission), then

claimed to recover it but refused to return it, and positing that Biro was attempting to steal the

painting). That Biro disputes the truth of the allegations made in these cases does not defeat

defendants’ privilege to report them. E.g., Pelayo v. Celle, 270 A.D.2d 469, 469 (2d Dep’t

2000); 1 SACK ON DEFAMATION § 7.3.5.

        Other allegations concerning the Article’s discussion of lawsuits are phrased in an effort

to avoid directly disputing the actual claim in the underlying litigation, but the effort is entirely

unavailing. In each instance, the Complaint restates as an alleged “implication” from the Article

an allegation made explicitly in the lawsuit described, or one that flows directly from the

allegations in the underlying litigation. In each instance, the Section 74 privilege applies:

        •   Claim that description of lawsuit by Sam and Syd Wise falsely “implies that plaintiff
            knowingly sold fake art, and concealed that fact until the court ruled against them
            [sic].” (Compl. ¶¶ 67 68 (emphasis added).)

        The Wise lawsuit alleged that Biro had sold them two paintings that he represented to be

by the Canadian painter, Goodridge Roberts, and after the Wises determined the paintings were


9
 When ruling on a motion to dismiss, the Court may take judicial notice of judicial records. See
Rothman v. Gregor, 220 F.3d 81, 92 (2d Cir. 2000); Scherer v. Equitable Life Assur. Soc’y of U.S., 347
F.3d 394, 402 (2d Cir. 2003) (same).


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not authentic, Biro refused to refund their money. Grann Decl., Ex. F Judgment in Studio des

Artistes du Chateau Inc. v. Biro at 2 3. Biro does not deny that these allegations were made, but

contends the Article’s description conveys a false implication because the court “made no

finding regarding the authenticity of the paintings one way or the other,” and “ruled only that the

contract should be cancelled.” (Compl. ¶¶ 69, 72.) Putting aside that the Article states only—

and accurately—that the court found in favor of the Wises, the Complaint misrepresents the

court’s judgment: The court did hold expressly that the Wises had carried their burden of

proving that the painting “was not an authentic work.” Grann Decl., Ex. F, Judgment at 24 25.

       •   Claim that description of litigation over Biro’s joint purchase with Saul Hendler of a
           possible Renoir falsely implies “that plaintiff knowingly sold fake art, a criminal
           offense.” (Compl. ¶ 73 74.)

       The Article accurately states that Biro consulted with an expert after the purchase and,

when it was determined not to be an authentic Renoir, refunded a portion of the Hendlers’

money. Compl. ¶ 73 & Ex. A, Article at 18. The Complaint does not dispute that the Hendlers

made the allegations reported in the Article—and could not. See Grann Decl., Ex. C, Declaration

filed in Hendler v. Biro, ¶¶ 1 6. Any implication that flows from the accurate report of those

allegations is itself privileged. See, e.g., Fuji Photo Film U.S.A., Inc. v. McNulty, 669 F. Supp.

2d 405, 415 (S.D.N.Y. 2009) (implications flowing from a fair summary of claims made in

litigation not actionable unless the summary implies conduct beyond that at issue in the lawsuit);

Smith v. Santa Rosa Press Democrat, 2011 U.S. Dist. LEXIS 121449 (N.D. Cal. 2011) (privilege

extends to implications conveyed by a fair report of an official proceeding).

       •   Claim that description of allegations in Hendler litigation falsely “implies that
           plaintiff switched one painting for another.” (Compl. ¶ 82.)

       In this instance, the false “implication” alleged to arise from the Article was actually an

express allegation of wrong doing advanced in the underlying lawsuit—the Hendlers accused



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Biro of switching the paintings. See Grann Decl., Ex. C, Declaration ¶¶ 9 10 (alleging that

painting Biro returned was “not that which [Hendler] had originally purchased”).

       •   Claim that description of the Hendler litigation, falsely “implies that plaintiff
           defrauded the Hendlers.” (Compl. ¶ 85.)

       Again, even if the asserted implication can reasonably be said to be conveyed by the

Article, it is because the Hendlers’ allegations themselves create that implication. Indeed, their

allegations squarely fit the common definition of fraud. Compare BLACK’S LAW DICTIONARY

670 (7th ed.1999) (defining “fraud” as “[a] knowing misrepresentation of the truth ... to induce

another to act to his or her detriment”) with Grann Decl., Ex. C, Declaration ¶¶ 9 13 (had

Hendler “known that the painting he saw and received on September 17, 1998, was not the same

painting which he originally purchased from Defendants on December 29, 1983, he never would

have signed the agreement”). Biro objects that “the Hendlers’ claim was fully paid” (Compl.

¶ 86), but that does not negate the underlying allegations or the accuracy of the Article.

       •   Claim that description of Biro’s dispute with Senator Joyal, falsely “implies that
           plaintiff concealed a theft, or was a thief himself, and describes him as a liar.”
           (Compl. ¶¶ 91 92.)

       Like all of his claims of false implications allegedly flowing from the descriptions of

lawsuits, Biro does not dispute the Article’s accuracy in describing the case brought by Senator

Joyal, but argues that “[n]o wrongdoing was ever attributed to plaintiff in the [Joyal] matter.”

(Id. ¶ 97.) Once again, the Article does not attribute any such “wrongdoing” to Biro, but simply

reports the allegations made by Joyal and the true fact that “the court awarded Joyal seven

thousand dollars, plus interest.” See id. ¶ 91 & Ex. A., Article at 19; Grann Decl., Ex. D,

Judgment in Joyal v. 112320 Canada Inc. et Biro.




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          In sum, all of the allegations arising from descriptions of litigation accusing Biro of fraud

and misconduct are barred by Section 74. The Article accurately describes the allegations and

the outcomes—it is only the Complaint that distorts the records of those lawsuits.

                                   II.
          THE AMENDED COMPLAINT FAILS TO STATE A CLAIM FOR LIBEL
          BASED ON ANY ALLEGEDLY FALSE STATEMENT IN THE ARTICLE

          The Complaint wistfully asserts that a handful of statements in the Article are directly

false. (See Addendum B.) None of these statements is actionable, even if they were otherwise

false.

A.        Plaintiff Has No Claim For Libel Based
          On Publication Of Non Defamatory Facts

          Three of the allegedly false facts in the Article are non defamatory on their face. Under

New York law, “it is for the court to decide . . . whether the offending words pleaded in a libel

action are susceptible of a libelous meaning.”10 Kelly v. Schmidberger, 806 F.2d 44, 46 (2d Cir.

1986). In so doing, the challenged statements are to be read in the context of the publication as a

whole and without straining to give the publication either an innocent or a defamatory

construction. Levin v. McPhee, 917 F. Supp. 230, 236 (1996) (citing James v. Gannett Co., 40

N.Y.2d 415, 419 20 (1976)), aff’d, 119 F.3d 189 (2d Cir. 1997).

          A statement is defamatory “if it tends to expose the plaintiff to public contempt, ridicule,

aversion or disgrace, or induce an evil opinion of him in the minds of right thinking persons, and

to deprive him of their friendly intercourse in society.” Qureshi v. St. Barnabas Hosp. Ctr., 430

F. Supp. 2d 279, 287 (S.D.N.Y. 2006). If a statement is “not reasonably susceptible” of such a

defamatory meaning, it is not actionable as a matter of law, and “cannot be made so by a strained

10
  The Second Circuit has stressed that this determination “‘should ordinarily be resolved at the pleading
stage.’” Karedes v. Ackerly Group, Inc., 423 F.3d 107, 113 (2d Cir. 2005) (quoting Church of
Scientology Int’l v. Behar, 238 F.3d 168, 173 (2d Cir. 2001)).


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or artificial construction.” Aronson v. Wiersma, 65 N.Y.2d 592, 594 (1985); Klepetko v.

Reisman, 41 A.D.3d 551, 551 (2d Dep’t 2007) (same).

        Desperately seeking to discredit the Article, the Complaint stretches to challenge

statements that are plainly not defamatory as a matter of law, specifically:

        •   The statement that Biro “pioneered a radical new approach to authenticating pictures”
            is alleged to be false and defamatory because “there is nothing radical about
            fingerprints” (Compl. ¶¶ 47 48);

        •   The statement “though it was still early in the day, Biro reached into a long wooden
            rack filled with wine bottles and removed one,” is false and defamatory because there
            was no “long wooden rack” and it was not “early in the day,” it was lunchtime (Id. ¶¶
            53 55); and

        •   The statement ‘[s]urprisingly, at least five million dollars of investor’s money would
            also go to purchasing Teri Horton’s painting – even though Biro had authenticated the
            work,” is false and defamatory because “plaintiff never authenticated Horton’s
            painting.” (Id. ¶¶ 107, 116.)

None of these allegations can provide the basis for a libel claim because none, even if false, is

reasonably capable of a defamatory meaning in the context of the Article.

        Biro quibbles that his approach to authentication is not “radical,” but the Complaint itself

describes his work as a newly “emerging field.” (Id. ¶ 9.) Whether it is accurate to describe the

use of fingerprints to authenticate art as “radical” or not, the description does not expose Biro “to

public contempt, ridicule, aversion or disgrace.” Qureshi, 430 F. Supp. 2d at 287. Likewise,

Biro’s objection to his depiction pouring a glass of wine fails to establish any defamatory

meaning—a nit pick over the description of a wine rack or whether lunchtime is “early” does not

give rise to a libel claim.

        It is equally non defamatory to state that Biro authenticated Ms. Horton’s painting. Biro

apparently seeks to quibble that he did not “authenticate” the Horton painting but rather

concluded only that a fingerprint on the painting and a fingerprint he found at Jackson Pollock’s




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studio came from the same hand.11 This distinction does not render the Article’s statement

substantially untrue given the undisputed facts in the Article. See, e.g., Masson v. New Yorker

Magazine, Inc., 501 U.S. 496, 517 (1991) (statement not actionable if “the substance, the gist

[or] the sting, of the libelous charge” is substantially true). Where, as here, a libel plaintiff has

admitted the truth of facts that would have the same effect on the mind of the reader as the

allegedly defamatory statement, no claim for libel exists. Love v. William Morrow & Co., 193

A.D.2d 586, 588 (2d Dep’t 1993); see also, e.g, Jewell v. NYP Holdings, Inc., 23 F. Supp. 2d 348

(S.D.N.Y. 1998) (dismissing libel claim challenging report that plaintiff was “a prime suspect” in

Atlanta bombing where plaintiff admitted he was “a suspect” and had been investigated by FBI).

Here, Biro’s Complaint acknowledges that he was featured in a documentary whose central point

makes this very claim—that Horton’s painting was shown to be an authentic Pollock through

Biro’s work. See Compl. ¶ 10 & Ex. A, Article at 12.

B.      Plaintiff Has No Claim For Libel Based
        On Publication Of Opinion and Conjecture

        The other allegedly false facts in the Article constitute non actionable opinion. To state a

claim for libel, a challenged statement, in context, must reasonably be understood to assert a fact

that is provably false and defamatory—a libel plaintiff may not recover against defendants who

are expressing an opinion. Steinhilber v. Alphonse, 68 N.Y.2d 283, 286 (1986). “[F]alse or not,

libelous or not,” expressions of opinion “are constitutionally protected and may not be the

subject of private damage actions.” Id.; see also Bloom v. Fox News of Los Angeles, 528 F.

11
   Like many of its claims, the Complaint’s allegation that Biro never “authenticated” the Horton painting
is intentionally deceptive. Biro has claimed loudly and publicly to have “matched” a fingerprint and
authenticated Horton’s painting as a Pollock—indeed, that is the point of the documentary, “Who the
#$&% is Jackson Pollock?,” in which Biro states: “I believe it’s a Pollock.” In a report published on his
own website in 2009, Biro similarly stated his personal conclusion that Teri Horton’s painting “is exactly
what it appears to be: a poured painting by Jackson Pollock c. 1947 49.” See
http://web.archive.org/web/20090221031410/http://www.birofineartrestoration.com/ Pollock/Pollock.htm
(“Archived Site”) (last visited, October 28, 2011).


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Supp. 2d 69, 76 (E.D.N.Y. 2007). Indeed, the New York constitution is even more protective of

opinion than the First Amendment—under New York law, an expression of opinion is not an

actionable defamation, “no matter how vituperative or unreasonable” that opinion might be.

Steinhilber, 68 N.Y.2d at 289; see also Gross v. New York Times Co., 82 N.Y.2d 146, 152 53

(1993); Immuno AG. v. Moor Jankowski, 77 N.Y.2d 235, 254 (1991).

       Whether a particular statement constitutes fact or opinion is a threshold question of law

for the court. H&R Indus., Inc. v. Kirshner, 899 F. Supp. 995, 1009 (E.D.N.Y. 1995). To make

this determination:

               New York courts look to the immediate context and the broader
               social context of the statement. . . . When the defendant’s
               statements, read in context, are readily understood as conjecture,
               hypothesis, or speculation, this signals the reader that what is said
               is opinion, and not fact.

Levin v. McPhee, 119 F.3d 189, 197 (2d Cir. 1997) (statement that it was “a possibility” plaintiff

killed someone held to be non actionable opinion); see also Sabratek Corp. v. Keyser, 2000 WL

423529, at *6 (S.D.N.Y. Apr. 19, 2000) (calling plaintiff a “pathological liar” labeled opinion in

context); Idema v. Wager, 120 F. Supp. 2d 361, 366 (S.D.N.Y. 2000) (describing plaintiff as a

“militant” is non actionable opinion because term has “many meanings and shades of

meanings”), aff’d, 29 F. App’x 676 (2d. Cir. 2002).

       Applying these standards, three allegations from the Complaint are readily revealed to

challenge statements of pure opinion by individuals who felt Biro’s bankruptcy filing and

business practices had cheated them or their friends out of money:

       •   “Elizabeth Lipsz, a Montreal businesswoman who had once been close to Biro, and
           who won a lawsuit against him for unpaid loans, described him to me as a ‘classic
           con man.’ Her lawyer told me that Biro ‘was so convincing. He was very suave, soft
           spoken, but after a while you catch him in different lies and you realize that the guy is
           a phony.’” (Compl. ¶ 100);




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       •   Lipsz’s lawyer said of Biro, “‘He oiled his way out of that whole thing . . . . He got
           away scot free.’” (Id. ¶¶ 103 04); and

       •   “Lafferty’s longtime business partner, Allan Aitken, told me that he believed ‘Biro
           was either a shyster or a con man, and had found in Lafferty an easy mark.’” (Id.
           ¶¶ 109 110).

       The descriptions of Biro as a “con man,” a “phony” and a “shyster” who “oiled” his way

out of paying his debts, in the context of the Article, are all non actionable under well settled

precedent. The reasoning of Foley v. CBS Broadcasting, Inc., 2006 WL 6619947 (N.Y. Sup.

Sept. 13, 2006), applies directly here. There, plaintiff operated a business selling high end

cabinets, and sued based on a television broadcast reporting many customers complaints that had

been made against her. The broadcast described plaintiff as a “con artist” and asserted that she

had been “scamming customers for years.” Id. at *1. The trial court granted defendants’ motion

to dismiss, finding that the description of the plaintiff as a “con artist” in the context of customer

complaints would be understood as opinion and voicing allegations, not facts. Id. at *4.

       Similarly in Huggins v. NBC, 1996 WL 763337 (N.Y. Sup. Feb. 7, 1996), a trial court

held that statements made by entertainer Melba Moore describing her ex husband as a “con

artist” were non actionable opinion. Among the facts supporting this conclusion, the court found

it “significant” that Ms. Moore was discussing her former husband manager in the context of a

“broken marriage” and “bankruptcy,” so that a reasonable listener would understand that she was

speaking “from a subjective rather obvious point of view.” Id. at *3. See also, e.g., Gristede’s

Foods, Inc. v. Poospatuck (Unkechauge) Nation, 2009 WL 4547792, at *18 19 (E.D.N.Y. Dec.

1, 2009) (allegation that Indian tribe operated “under a veil of secrecy” was protected opinion

when made by an attorney adverse to the tribe who readers would recognize as a partisan).

       The challenged statements referring to Biro as a “con man,” “phony” and a “shyster” who

“oiled” his way out of debts likewise appear in the context of claims made by people whose bias



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against Biro would plainly signal to a reasonable reader that they were speaking from a

subjective point of view:

       •   Ms. Lipsz is described as someone who once had a personal relationship with Biro
           and later had to sue him to recover unpaid loans. (Article at 19.)

       •   Mr. Aitken is described as the “longtime business partner” of a Biro client who felt
           his partner had been taken advantage of in a series of dealings that are fully disclosed
           in the Article. (Id. at 22.)

       •   Ms. Lipsz’s attorney would equally be recognized as a partisan, and his comment
           about Biro’s escape from his debts is presented in the context of an accurate portrayal
           of Biro’s bankruptcy proceeding in 1993. (Id. at 19.)

In each case, the Complaint makes no allegation of any misstated fact, and attacks only the

statement of personal opinion based on those facts. Such claims are barred as a matter of law.

See, e.g., Jewell, 23 F. Supp. 2d at 377 (no claim for voicing opinion where plaintiff “does not

challenge the veracity of the underlying facts”); Gristede’s Foods, Inc., 2009 WL 4547792, at

*18 (no claim for statement uttered by an attorney who readers would understand to be partisan).

                                III.
       THE AMENDED COMPLAINT FAILS TO STATE A CLAIM FOR LIBEL
       BASED ON ANY UNSTATED IMPLICATION ALLEGEDLY CONVEYED

       Unable to point to any material false fact in the Article, the Amended Complaint strains

mightily to assert a claim based on some unstated implication allegedly conveyed by the true

facts presented. (See Addendum C.) According to the Complaint, “selective omission,

innuendo, and malicious sarcasm,” give rise to the implication that plaintiff is “guilty of crimes,

of fraudulent conduct and of deceit...[and] is dishonest and incompetent in his profession.”

(Compl. ¶¶ 22, 29 30, 164, 166.) Once again, the allegations fail to state any claim for libel.

       Given the central concern of the First Amendment to protect the dissemination of true,

newsworthy information, some courts have concluded that such claims based upon “the overall

implications that may flow from true factual statements” can never sustain a libel claim because



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any other conclusion “would unacceptably inhibit” reporting on information of public concern.

Locricchio v. Evening News Ass’n, 476 N.W.2d 112, 144 (Mich. 1991) (Cavanaugh, C.J.,

concurring). See also Strada v. Connecticut Newspapers Inc., 477 A.2d 1005, 1010 (Conn.

1984) (in absence of undisclosed facts, “first amendment considerations dictate that an article

concerning a public figure composed of true or substantially true statements is not defamatory

regardless of the tone or innuendo evident”); Schaefer v. Lynch, 406 So. 2d 185, 188 (La. 1981)

(“Where public officers and public affairs are concerned, there can be no libel by innuendo.”).

       Courts of New York have not gone so far, and have accepted that a claim for libel by

implication can potentially arise from a combination of statements that are not individually

defamatory, or from the omission of vital information, if the reader is led to draw an inference

that is both damaging to the plaintiff and provably false. See Armstrong, 85 N.Y. 2d at 381;

Herbert v. Lando, 781 F.2d 298, 307 (2d. Cir. 1986). But given the substantial First Amendment

interest in protecting true speech, libel claims premised on unstated implications must be

carefully constrained. Rappaport v. VV Publ’g Corp., 618 N.Y.S.2d 746, 748 (N.Y. Sup. 1994)

(referring to the “significant obstacles” in establishing a claim for libel by implication), aff’d,

223 A.D.2d 515 (1st Dep’t 1996). As the Seventh Circuit cautioned in Woods v. Evansville

Press Co., 791 F.2d 480, 487 (7th Cir. 1986), “requiring a publisher to guarantee the truth of all

the inferences a reader might reasonably draw from a publication would undermine the

uninhibited, open discussion of matters of public concern.”

       At the pleadings stage, implication claims must therefore be subjected to close scrutiny to

avoid the chilling impact on admittedly true speech caused by burdensome litigation and

intrusive inquiry into the editorial process. Chapin v. Knight Ridder, Inc., 993 F.2d 1087, 1092

93 (4th Cir. 1993) (“because the constitution provides a sanctuary for truth, a libel by implication




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plaintiff must make an especially rigorous showing”); Rappaport, 618 N.Y.S.2d at 748 (same).

Although neither the New York Court of Appeals nor the Second Circuit has fully defined the

proper standard to be applied, Armstrong, 85 N.Y. 2d at 381; Levin, 119 F.3d at 196 n.5, it is

widely accepted that a plaintiff alleging a false and defamatory implication must establish at the

outset two fundamental prerequisites to survive a motion to dismiss—specifically, that the

challenged statements (1) can reasonably be read to convey the alleged implication, and (2) on

their face demonstrate that the alleged implication is one the author adopted and intended to

convey. See Chapin, 993 F.2d at 1093 (“language must not only be reasonably read to impart the

false innuendo, but it must also affirmatively suggest that the author intends or endorses the

inference”); Vinas v. Chubb Corp., 499 F. Supp. 2d 427, 437 (S.D.N.Y. 2007) (plaintiffs alleging

libel by implication “typically have to show that Defendants affirmatively intended such

implication”); Chaiken v. VV Publ’g Corp., 907 F. Supp. 689, 698 (S.D.N.Y. 1995) (“publisher

is not liable for a defamatory innuendo unless it intended or endorsed that inference”), aff’d, 119

F.3d 1018 (2d Cir. 1997).

       Each determination raises a question of law properly decided on a motion to dismiss.

Tracy v. Newsday, Inc., 5 N.Y.2d 134, 136 (1959) (court decides whether publication is capable

of implication ascribed to it); Rappaport, 618 N.Y.S.2d at 748. Biro cannot meet either burden.

A.     None of the Challenged Statements
       Reasonably Conveys the Implication Alleged

       In assessing the meaning of statements alleged to convey a libelous implication, it is

long settled as a matter of New York law that words are to be construed as persons generally

understand them and according to their ordinary meaning. Tracy v. Newsday, Inc., 160 N.Y.S.2d

152, 154 (N.Y. Sup. 1957), aff’d, 5 N.Y.2d 134 (1959). Courts “must give the disputed language

a fair reading in the context of the publication as a whole,” Armstrong, 85 N.Y.2d at 380, and



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may not allow a claim of innuendo or implication to “enlarge upon the meaning of the words so

as to convey a meaning that is not expressed.” Loeb v. New Times Commc’ns Corp., 497 F.

Supp. 85, 90 (S.D.N.Y. 1980).

       In this case, the Complaint alleges implied accusations that are not reasonably read into

the Article, objects to omissions that are generally not omitted and would not change the

meaning of the Article in any event, and improperly resorts to challenging the Article “as a

whole” even though it allegedly conveys nothing different than the individual non actionable

statements. None of the allegations of implied libel advanced by Biro states a proper claim.

       1.      Implied accusations alleged in the Complaint are not found in the Article.

       A few of the “implications” plaintiff would read into the Article are not remotely

actionable and warrant no serious consideration:

       •    Describing Biro’s “habitual raven like outfit” is alleged to falsely make him appear
            “sinister.” (Compl. ¶¶ 50, 52.)

       •    Depicting Biro finishing a glass of wine and refilling it while being interviewed
            falsely implies that he “drinks to excess.” (Id. ¶ 55.)

Neither of these allegations denies the truth of anything said or identifies any omission. The

alleged implications that Biro is “sinister” and “drinks to excess” are entirely “strained,

unreasonable and unjustified,” and therefore fail to state a claim. Tracy, 5 N.Y.2d at 137. See

also Aronson, 65 N.Y.2d at 594 (courts should not strain to interpret statements as defamatory);

Idema, 120 F. Supp. 2d at 367 (same).

       Other allegations—objecting that false implications arise from the tone and structure of

the Article—are similarly far fetched and equally insufficient:

       •    A true description of Biro’s reaction when asked about allegations that Jackson
            Pollock fingerprints found on the Parkers’ painting were forged, “implies that
            plaintiff had in fact forged fingerprints, and that his denial was a lie.” (Compl.
            ¶¶ 118 19.)



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       •   A true description of the response of Biro and his brother when asked whether their
           father had forged any works of art implies that their “understandable emotional
           reaction to having their father accused of forgery and insulted... was somehow an
           admission of guilt.” (Id. ¶¶ 120 21.)

       •   A true description of painting’s by Biro’s father “consigned” to his basement
           laboratory and “seen only by an adoring son,” allegedly implies “that plaintiff is
           concealing his own property because he has something to hide, and that he is
           protecting his father’s wrongdoing out of filial loyalty.” (Id. ¶¶ 132 33.)

These allegations are particularly misdirected because they seek to punish the means of

expressing facts, without denying the truth of the facts presented. “Courts must be slow to

intrude” in such cases because how to express a situation “must always be left to writers and

editors. It is not the business of government.” Rappaport, 618 N.Y.S.2d at 749 50 (quoting

Janklow v. Newsweek, 788 F.2d 1300, 1306 (8th Cir 1986)). See also Sprecher v. Dow Jones &

Co., 450 N.Y.S.2d 330, 332 (1st Dep’t 1982) (challenging a report as unbalanced “is essentially

a matter involving editorial judgment and is not actionable”), aff’d, 58 N.Y.2d 862 (1983).

       Not only are the allegations inadequate as a matter of law, they are based on significant

distortions of the Article. The Complaint ignores the Article’s lengthy presentation of Biro’s

response to allegations he had forged fingerprints (Article at 27 28), and its description of both

Biro’s reaction to allegations of forgery by his father (“‘It is upsetting,’ he said. It’s pure

fantasy.’”) and his denial of forgery (“Because somebody’s a painter, therefore he can forge. It’s

like saying that if somebody is a surgeon he can kill, because he’s got a sharp instrument in his

hand”). (Id. at 27.) Similarly, the claim that the Article’s references to some paintings by Biro’s

father as “consigned to his laboratory” implies he is “concealing” the paintings, ignores the

explicit disclosure that his father’s paintings are “displayed throughout Biro’s house.” (Id. at 7.)

In the context of the full Article, the alleged implications are indefensible.

       Plaintiff’s more fundamental complaint is with statements he reads to convey implicit

accusations of wrongdoing, even though the Article makes no such accusations explicitly. Biro


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finds the implications of “fraud and incompetence” to be supported by false implications

allegedly conveyed by a number of statements in the Article:

       •   That Biro “keeps finding famous fingerprints on uncelebrated works of art” allegedly
           conveys that he finds them “where they do not exist.” (Compl. ¶ 29.)

       •   An accurate 4 paragraph summary of plaintiff’s examination of a fingerprint on a
           painting owned by Alex Matter and his discovery of acrylic paint and gold paint
           particles in Pollock’s studio, allegedly implies “that Biro planted or fabricated
           evidence to support his contention that the pictures were by Jackson Pollock.” (Id.
           ¶¶ 56 7.)

       •   Several paragraphs truthfully reporting Biro’s role “in an effort to launch a venture
           named Provenance” allegedly imply “that plaintiff was the initiator of a fraudulent
           investment scheme, and that he planned as part of the scheme to falsely authenticate
           art works.” (Id. ¶¶ 107 08.)

       •   A full presentation of the inconsistency between Biro’s statement “that he had spent
           only a ‘few hours’ in Pollock’s studio, in the ‘presence of staff,’” and the statement of
           the studio manager who flatly stated “[t]hat’s not true,” and explained that her records
           show Biro “visited four times,” was “there for hours,” was not “watched over.. all that
           time,” and in the absence of staff “had removed, ‘without authorization,’ a match
           from the floor,” allegedly implies that Biro “committed a fraud and that he was a
           thief.” (Id. ¶¶ 125 26.)

       •   The statements that “few individuals, inside or outside the art world, can evaluate
           fingerprints” so “[i]n that sense, Biro’s authentications were far less democratic than
           traditional connoisseurship,” allegedly imply that “plaintiff’s reputation was
           unwarranted, and that he was in fact a fraud.” (Id. ¶¶ 127 28.)

       Courts applying New York law have repeatedly rejected such libel claims for an unstated

accusation that is allegedly implied from true facts. Even before New York Times v. Sullivan

injected First Amendment constraints on the common law of libel, the New York Court of

Appeals rejected an accusation by implication claim, finding that an allegation that the

presentation of true facts amounted to an accusation of wrongdoing, added “an entirely new and

independent thought that [found] no support in the article.” Tracy, 5 N.Y.2d at 137. In Tracy, a

newspaper reported that plaintiff had (a) been hired as an investigator to aid in the defense of an

alleged sex offender’s case, (b) helped the alleged offender carry his luggage out of a hotel, and



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(c) was the last man to hear from the offender who called him to cancel an appointment to go to

court together. The Court of Appeals held that the presentation of these true facts could not

support a libel claim for the implication that plaintiff aided the alleged offender to jump bail.

The reported facts were true, no such accusation was adopted or endorsed in the article, and the

implication claim was thus rejected on a motion to dismiss.

       In Loeb v. New Times Communications Corp., recovery was denied by this court on

summary judgment based upon a similar analysis. Loeb claimed the statements referring to a

“mysterious fire” that destroyed the printing plant of a competitor implied he was responsible for

the fire and was an arsonist. Although the court found that “[t]he authors’ clear intent was to

portray an overwhelmingly negative picture of Loeb by presenting purported examples of his

ridiculous idiosyncrasies and prejudices, shady political maneuverings, and dishonest reporting

practices” 497 F. Supp. at 88 89, plaintiff had no claim for libel by implication because

“defendants have reported the facts accurately and carefully,” and the article did not expressly

convey “the defamatory conclusion which Loeb claims they intended the reader to draw,”

leaving the reader “free to draw his own conclusion” id. at 91.

       Unlike Loeb, the tone of the Article in this case does not demonstrate an intent to convey

“an overwhelmingly negative picture” of Biro and, to the contrary, presents plaintiff’s side of

each dispute. But as in Loeb, the Article here accurately reports the true facts and omits no

materials facts, and is therefore not actionable.

       It bears emphasis that the threshold question presented is whether the challenged

statements reasonably convey the defamatory accusation that plaintiff is a criminal and a fraud,

not whether such an interpretation of the Article is possible, or even plausible. In the law of

defamation, “what meaning a communication is capable of bearing” is a very different inquiry




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from identifying “the inferences that can reasonably be drawn from it.” White v. Fraternal

Order of Police, 707 F. Supp. 579, 589 n.12 (D.D.C. 1989) (emphasis added), aff’d, 909 F.2d

512 (D.C. Cir. 1990). The court in White illustrated this “important, but subtle,” point:

               If a newspaper accurately reported that an individual was arrested
               and charged with a crime, a reader could reasonably infer, i.e.,
               guess, surmise, or derive as a probability, that the individual
               actually committed the crime. However, unless the newspaper
               article, considered as a whole, in context, could be reasonably
               understood to express that the individual in fact committed the
               crime, the newspaper report would not be actionable, questions of
               privilege aside. (Id.)

       In similar situations, courts across the country have repeatedly rebuffed efforts to

transform reports raising questions about matters of public concern into defamatory assertions of

guilt. In Chapin, for example, the Fourth Circuit dismissed a libel action based on a newspaper

article that “pointedly questioned” the finances of a non profit organization sponsoring “a

program to send ‘Gift Pacs’ to American soldiers in Saudi Arabia,” and the “apparent ‘hefty

mark up’ between the wholesale cost of the items in the Gift Pac and the price charged the

public.” 993 F.2d at 1091. Rejecting plaintiff’s contention that the article implied he had

defrauded the public, the Court of Appeals concluded:

               Fundamentally, the . . . article raises questions about the Gift Pac
               project. In the Court’s view, it is a story constructed around
               questions, not conclusions. But the mere raising of questions is,
               without more, insufficient to sustain a defamation suit in these
               circumstances. Questions are not necessarily accusations or
               affronts. Nor do they necessarily insinuate derogatory answers.

Id. at 1098. Put differently, the Court of Appeals recognized in Chapin that journalism which

“invite[s] the public to ask” questions about matters of public concern is the “paradigm of a

properly functioning press.” Id. at 1096. The court acknowledged that the conclusion “Chapin is

a dishonest man . . . was certainly within the wide range of possibilities” flowing from

defendant’s article, but that is “precisely why we need and must permit a free press to ask the


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question.” Id. See also Green v. CBS, Inc., 286 F.3d 281, 284 (5th Cir. 2002) (reporting

allegations on a matter of public concern does not give rise to a claim for libel by implication).

       As in Chapin, the Article in this case accurately reports questions being raised on a

matter of public interest. Even if the conclusions that Biro is a fraud could be found within the

“range of possibilities” raised by the Article, the Article is not reasonably read to make an

implied accusation of fraud itself. Questioning the validity of Biro’s techniques and accurately

pointing out inconsistencies in his statements does not subject defendants to a claim for libel by

implication. E.g., Partington v. Bugliosi, 56 F.3d 1147, 1157 (9th Cir. 1995) (“inquiry itself,

however embarrassing or unpleasant to its subject, is not an accusation”); Beverly Hills

Foodland, Inc. v. UFCW Local 655, 39 F.3d 191, 195 (8th Cir. 1994) (raising question whether

plaintiff engaged in discriminatory hiring practices not an actionable false statement of fact).

       2.      Omissions alleged in the Complaint would not change the gist of the Article.

       Plaintiff is equally misdirected in alleging that an implication of fraud and incompetence

is created by “selective omission” of facts from the Article. (Compl. ¶ 22.) The primary

omissions he alleges include:

       •       The discussion of Biro’s work on the Alex Matter paintings allegedly failed to
               disclose that (a) Biro allegedly “never stated” that Pollock used gold paint or that
               gold paint on the Horton painting “matched” the gold paint he found on Pollack’s
               studio floor, (b) the “actual detection of acrylate” at the Pollock studio was
               allegedly made by Dr. Eastaugh using FTIR spectroscopy, and (c) others
               allegedly have reported that Pollock used acrylic paints. (Id. ¶¶ 58 62.)

       •       The discussion of Biro’s involvement with the Provenance investment scheme
               allegedly omits that Biro: (a) “has never taken an interest in any of the works of
               art he is asked to analyze” and (b) “does not work on contingency for a
               percentage if a work is sold.” (Id. ¶ 112.)

       •       The discussion of Biro’s authentication of “Landscape with a Rainbow” allegedly
               omits that (a) his fingerprint match was confirmed by a British fingerprint expert,
               (b) the painting was also authenticated by a well known of Turner scholar, and (c)
               scientific work was done on the painting by Dr. Eastaugh. (Compl. ¶ 124.)



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       In two of these cases, Biro’s claim of libel by omission fundamentally fails because the

omitted facts are not omitted. The allegation of omission from the Provenance discussion simply

ignores the Article’s explicit explanation that Biro says he:

               maintains a firewall between his research and the sale of a
               painting, and that he receives the same fee – two thousand dollars a
               day – regardless of the outcome of his investigation. “If I stopped
               being disinterested, my credibility will be gone,” he said.

Article at 12. See also id. at 27 (noting Biro’s assurance “that he had no financial stake in

Horton’s painting” and Horton’s statement “that she could not ‘let that get out in the media that

he has a percentage, when he does not.’” (emphasis added)).

       Again, the alleged omissions concerning Biro’s purported authentication of “Landscape

with a Rainbow” are largely not omitted. The Article does report that Prof. David Hill, a Turner

scholar at the University of Leeds thought “the composition and coloring strongly pointed to the

hand of Turner,” and that John Manners, a fingerprint examiner with the West Yorkshire Police,

said “the fingerprints definitely matched: ‘It is a Turner.’” (Id. at 11.) Moreover, the contention

that a simple reference to Biro’s authentication of a “purported Turner” would cause readers to

infer that (a) Biro is the only person to consider the painting genuine and (b) it is not genuine is

patently unreasonable, particularly in the face of the Article’s express disclosures that two

experts supported Biro’s authentication, the painting sold at auction for more than $150,000 after

his authentication, and the painting is considered “the first artwork officially authenticated”

through fingerprints. (Id.)

       The allegations concerning omissions from the discussion of the Matter painting are

equally insufficient. To state a libel claim based on the omission of information, the omitted

facts must be material and significant enough to change the defamatory sting of the disclosed

facts in the mind of a reasonable reader. See, e.g., Krepps v. Reiner, 588 F. Supp. 2d 471, 484



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(S.D.N.Y. 2008) (rejecting implication based on reference to two lawsuits an opposing party had

won that omitted discussion of one where opposing party had lost); Sprecher, 450 N.Y.S.2d at

332 (rejecting implication claim based on failure to note that restrictions placed by SEC on

others in investigation were not placed on plaintiff).12 Biro alleges no such material omission.

        The quibbles about Biro’s alleged failure to state affirmatively that there was a chemical

“match” between gold paint and acrylate found at the Pollock studio with paint used on the

Matter painting, and an alleged failure to disclose confirmation of Biro’s discovery of acrylate by

Dr. Eastaugh, does not change the gist of the description of Biro’s role in investigating the

Matter paintings.13 The Article presents many facts concerning his claims to discovery of gold

paint and acrylate at the Pollock studio, conflicting reports between Biro and the studio director

about his activities at the studio, and the nature of the work done by Biro in connection with the

Matter paintings, none of which is alleged to be untrue. The allegedly omitted facts would not

change the truth of the facts reported or the understanding of a reasonable reader.

        As in Janklow v Newsweek, 759 F.2d 644, 648 (8th Cir 1985), the omissions alleged by

Biro do “not make what was published untrue.” In Janklow, defendants published an account of

a 14 year old rape allegation against the plaintiff, but omitted to include that plaintiff had passed

a lie detector test while the victim had been declared “untestable,” there was no medical evidence

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  This conclusion is also compelled by the doctrine of “incremental harm,” which bars a defamation
plaintiff from recovery even when a publication contains inaccurate facts, so long as those false facts do
no more damage to plaintiff’s reputation than a recitation of the “true facts” would have done. Jewell, 23
F. Supp. 2d at 388; James v. DeGrandis, 138 F. Supp. 2d 402, 419 (W.D.N.Y. 2001) (even maliciously
false statement may be “‘nonactionable on the grounds that it causes no harm beyond the harm caused by
the remainder of the [nonactionable] publication.’”).
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  Once again, the allegations that Biro has never claimed that gold paint he found in Pollock’s studio
“matched” paint on the Horton painting, and that “the actual detection of acrylate [paint] was made by a
Dr. Nicholas Eastaugh” (Compl. ¶¶ 59, 61) are pure sophistry. Biro has publicly proclaimed in both the
Pollock documentary and his own 2009 report that the two samples of gold paint taken from Pollock’s
studio and the Horton painting “optically appear identical” and Biro’s 2009 report also expressly takes
credit for having personally “performed microchemistry on each sample” taken at the Pollock studio “to
test what the medium was.” See n.11, supra, Archived Report.


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of any rape, and law enforcement authorities had previously called the rape allegations

“unfounded.” Id. An Eighth Circuit panel recognized that the inclusion of these facts would

undoubtedly have cast doubt on the validity of the rape charge, but rejected the claim for libel by

implication in any event, because the published information was entirely true. Sitting en banc,

the Court affirmed the panel’s holding, stressing that:

               Accounts of past events are always selective, and under the First
               Amendment the decision of what to select must always be left to
               writers and editors. It is not the business of government.

788 F.2d at 1306. See also Abadian v. Lee, 117 F. Supp. 2d 481, 488 (D. Md. 2000) (libel by

omission claims disfavored because “‘editorial decisions [to omit material] are best left to

editors’”) (quoting Newton v. NBC, 930 F.2d 662, 686 (9th Cir.1991)).

       In short, Biro’s claimed omissions are both factually and legally insufficient to sustain a

claim for libel by implication.

       3.      The implication allegedly flowing from the Article “as a whole” is the same
               as the alleged implications of the non actionable statements.

       Finally, Biro’s attempt to assert an independent claim based on the “article as a whole” is

fatally flawed because it simply contends that the Article overall conveys the same implications

allegedly created by the separately challenged statements, statements that are non actionable.

This, too, is inadequate as a matter of law. See Herbert v. Lando, 781 F.2d at 311 312 (“overall

impact” not a separate claim unless distinct from impact of non actionable statements). An

implication claim based on the “overall” impact of an article cannot be used to end run common

law and constitutional limits to a libel claim. Cf. Hustler Magazine v. Falwell, 485 U.S. 46, 56

57 (1988) (rejecting claim for intentional infliction of emotional distress arising solely out of

published statements that were insufficient to state a claim for libel).




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B.     The Article Does Not Adopt or
       Endorse the Alleged Implications

       Plaintiff’s claims of libel by implication are fatally defective for a second independent

and equally dispositive reason: The Article does not convey to a reasonable reader that it adopts

or endorses the accusation that Biro is a fraud and incompetent. To state an implication claim,

the challenged language “must not only be reasonably read to impart the false innuendo, but it

must also affirmatively suggest that the author intends or endorses the inference.” Chapin, 993

F.2d at 1110. See also White, 909 F.2d at 519 (publication must be “‘reasonably understood by

the recipient of the communication to have been intended in the defamatory sense’” alleged)

(emphasis in original). Thus, for example, in White, even though the defendant “reported true

facts from which a reader might infer that [plaintiff] used drugs,” no claim for libel existed

because the court could not find that “it would be reasonable for a reader to conclude that

[defendant] intended the defamatory inference.” 909 F.2d at 526. See also Thomas v. Los

Angeles Times Commc’ns, 189 F. Supp. 2d 1005, 1013 (C.D. Cal.) (even where reasonable

reader might conclude that plaintiff had lied about his past, no claim for libel where “no

reasonable juror could find that Defendants intended to convey that impression”), aff’d, 45 F.

App’x 801 (9th Cir. 2002).

       This same conclusion is compelled by a reasonable reading of the Article here. Its

extensive review of Biro’s past is entirely accurate, omits no material facts, and draws no

conclusions. Nor is it one sided. The Article presents Biro as a “forensic art expert” with an

intense desire “to transform the authentication process through science.” (Id. at 6, 9.) It

describes how Biro will scour a canvas for fingerprints, treating it as part of “a crime scene, in

which an artist has left behind traces of evidence.” (Id. at 6.) It portrays the intensity with which

Biro tackles his work (“every waking hour”), his healthy skepticism of claims made about art



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works by his clients (a “human lie detector”), and the sophisticated equipment he says he has

designed and built to assist in analyzing art—including a “one of its kind in the world” multi

spectral camera. (Id. at 7.)

        Indeed, it would be particularly inappropriate to allow an implication claim to proceed on

the basis of the allegations against Biro discussed in the Article, when the Article goes out of its

way to present fully Biro’s responses to each of the allegations against him, and nowhere

endorses or adopts an accusation of fraud. For example, the Article:

        •       Presents Biro’s stated policy of only working on a flat fee per day for his
                authentication work to avoid any undue influence (Article at 12);

        •       Lays out Biro’s explanation that claims in old lawsuits “involved relatively small
                amounts, and . . . often stemmed from disgruntled ‘treasure seekers’ who ‘hoped
                to turn a thousand into ten or even into millions and then turned on us and still
                make nasty comments because their greed did not turn to gold.’” (id. at 26 27);

        •       Provides Biro’s explanation for the roughly one million dollars Richard Lafferty
                paid for Biro to investigate a painting possibly by a disciple of Raphael (id. at 27);

        •       Sets out Biro’s explanation of why he had claimed to find acrylic at Pollock’s
                studio on basis of a “microchemistry test” that others had said was insufficient to
                detect acrylic (id.); and

        •       Describes Biro’s response to allegations that fingerprints on the Parker paintings
                were forged and including Biro’s lengthy defense of the equipment and
                techniques he uses to detect and analyze fingerprints (id. at 27 28).

Throughout the Article, Biro’s explanations and versions of events are fully presented. See also

id. at 14, 27 28, 30.

        In short, the Article on its face cannot reasonably be read to convey that an accusation of

fraud was adopted and endorsed by defendants in reporting on the controversy surrounding Peter

Paul Biro. For this reason, too, plaintiff has no claim for libel by implication.




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C.     Any Implication Actually Conveyed
       Would Be Fully Protected As Opinion

       While defendants do not believe the Article can reasonably be read to convey the

accusations of fraud and incompetence alleged, the Complaint should still be dismissed even if

the Court were to conclude otherwise. If the alleged implications were conveyed, they would

constitute non actionable opinion based on the fully disclose facts. “[I]f a statement of opinion

either discloses the facts on which it is based or does not imply the existence of undisclosed

facts, the opinion is not actionable.” Levin, 119 F.3d at 197. In New York, even an accusation of

criminal conduct is protected as opinion, when the facts on which the accusation is based are set

forth and reasonable reader would understand the accusation to be “a personal surmise built upon

those facts.” Gross, 82 N.Y.2d at 155; see also Galasso v. Saltzman, 42 A.D.3d 310, 311 (1st

Dep’t 2007) (statements referring to plaintiff as “a criminal” who had “‘committed crimes’

against property” referred to “arguable criminal trespasses” disclosed in publication and

therefore protected as opinion); Kamalian v. Reader’s Digest Ass’n, Inc., 29 A.D.3d 527, 527 28

(2d Dep’t 2006) (statement that surgeon was guilty of “deadly mistakes” protected as opinion

where “adequately supported by a recitation of the facts upon which [it was] based”).

       The proper application of this rule is illustrated by the recent dismissal of a libel

complaint in Rashada v. New York Post, 39 Med. L. Rptr. 2310 (N.Y. Sup. Aug. 11, 2011),

where an imam who also worked for the Department of Corrections challenged a newspaper

article, entitled “Converts to Terror.” That article described four individuals accused of bombing

synagogues in the Bronx as “radicalized,” noted that all four were former inmates who had

attended plaintiff’s mosque, and advocated an investigation of the connection between the prison

system, radicalization of inmates, and the mosque. The trial court rejected plaintiff’s implication

claim that the facts as presented would lead readers to believe she had radicalized prison inmates,



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noting that “the article is plainly intended to raise issues” and “[did] not make any definitive

accusation” against plaintiff. To the extent the article could be read to implicate plaintiff in

wrongdoing, such a conclusion was held to be the protected opinion of the author: “[T]he tone

of the article is inquiring, not conclusory and shows that [the author] is presenting a plausible

theory and not a proven fact.” 39 Med. L. Rptr. at 2312. See also Haynes v. Alfred A. Knopf,

Inc., 8 F.3d 1222, 1227 (7th Cir. 1993) (“[I]f it is plain that the speaker is expressing a subjective

view, an interpretation, a theory, conjecture, or surmise, rather than claiming to be in possession

of objectively verifiable facts, the statement is not actionable.”); Partington, 56 F.3d at 1156 57

(“when an author outlines the facts available to him, thus making it clear that the challenged

statements represent his own interpretation of those facts and leaving the reader free to draw his

own conclusions, those statements are generally protected by the First Amendment”).

                                              *****

       In sum, Biro’s various allegations of libel by implication are flawed in multiple respects

and none states a claim. The Article accurately lays out the facts on a matter of public concern

without omitting any crucial information, and it is therefore fully protected under the State and

Federal constitutions.

                                     IV.
                  BIRO HAS NO CLAIM FOR INJURIOUS FALSEHOOD

       In New York, the tort of injurious falsehood is akin to trade libel or product

disparagement, and differs from defamation primarily in the nature of the damage at issue. See

Ruder & Finn, Inc. v. Seaboard Sur. Co., 52 N.Y.2d 663, 670 71 (1981); Henneberry v.

Sumitomo Corp. of Am., 415 F. Supp. 2d 423, 470 & n.24 (S.D.N.Y. 2006). Because the tort of

injurious falsehood challenges speech, a plaintiff advancing such claim is subject to the same

basic burdens and defenses as in an defamation. Riddell Sports Inc. v. Brooks, 872 F. Supp. 73,



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76 (S.D.N.Y. 1995) (injurious falsehood claim that was in reality a defamation claim dismissed,

since the essence of claimed injury was one to reputation).

       Biro’s claim for injurious falsehood thus fails for all the reasons discussed above that

render his claims for defamation insufficient as a matter of law. See supra pp. ___. To assert a

claim for injurious falsehood, the challenged statement must still communicate the defamatory

meaning Biro ascribes to it, Biro must still prove falsity; statements of opinion are still protected.

See, e.g., Newport Serv. & Leasing, Inc. v. Meadowbrook Distrib. Corp., 18 A.D.3d 454, 455 (2d

Dep’t 2005); Kuan Sing Enters., Inc. v. T. W. Wang, Inc., 86 A.D.2d 549, 549 50 (1st Dep’t),

aff’d, 58 N.Y.2d 708 (1982); P. Kaufman Inc. v. Americraft Fabrics, Inc., 198 F. Supp. 2d 466,

471 (S.D.N.Y. 2002). The injurious falsehood claim is fatally defective and should be dismissed.

                                          CONCLUSION

       For each and all the foregoing reasons, defendants respectfully request this Court to enter

an order dismissing the Complaint against them, with prejudice, and for such other and further

relief as the Court deems just and proper.

Dated: October 31, 2011
       New York, New York
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                    ADDENDUM A
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                                       STATEMENTS PRIVILEGED UNDER SECTION 74


     Challenged Statement                        False Implication Alleged                        Failure to State Claim
1.   “One day, I visited the records office of   “[T]here were no ‘defunct companies’ and         Fair report of judicial proceeding
     the Palais de Justice, the provincial       plaintiff did not operate ‘under the cover’ of   (Mem., pp. 8 14)
     courthouse in downtown Montreal . . . .     such companies ‘with the clear aim of
     During the eighties and early nineties,     confusing in their creditors.’” (¶ 66)
     more than a dozen civil lawsuits had
     been filed against Peter Paul Biro, his
     brother, his father, or their art
     businesses. Many of them stemmed
     from unpaid creditors. An owner of a
     picture frame company alleged that the
     Biros had issued checks that bounced
     and had operated ‘under the cover’ of
     defunct companies ‘with the clear aim
     of confusing their creditors.’” (¶ 64,
     citing Article at 12 [sic] (pp. 15 16 of
     Dkt. No. 17 1, Exhibit A))




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2.   Description of lawsuit filed by Wise        “[T]aken as a whole” falsely “implies that          Fair report judicial proceeding. (Mem.,
     brothers over paintings sold to them by     plaintiff knowingly sold fake art, and concealed    pp. 8 14)
     Biro as the work of Goodridge Roberts.      that fact until the trial court ruled against
     His widow, who had kept a catalogue of      them.” (¶ 68)                                       Omitted facts not material/do not
     all Roberts’ paintings, declared one of                                                         change defamatory sting. (Mem., pp.
     the paintings sold by Biro to be “a         Allegedly omitted:                                  27 30)
     fake.” Among the challenged                 • “[T]he trial court ruled only that the
     statements is the paragraph:                   contract should be canceled, and made no         Article does not adopt implication
     “Throughout the trial, the Biros and           finding regarding the authenticity of the        alleged. (Mem., pp. 31 32)
     their attorneys maintained that the two        paintings.” (¶ 69)
     paintings sold to the Wises were
     authentic, but to make their case they
                                                 •   The original owner testified that he “had
     presented an art expert who was not a
                                                     purchased the painting directly from the
     specialist on Roberts, or even on
                                                     artist when, by chance he encountered
     Canadian art. On September 3, 1986,
                                                     Goodrich Roberts painting in the
     the court found in favor of the Wises,
                                                     countryside, and bought the painting
     and ordered Peter Paul and Geza Biro to
                                                     directly off the easel. That owner, however,
     pay them the seventeen thousand dollars
                                                     had died by the time of the trial.” (¶ 70)
     they had spent on the pictures, as well
     as interest.” (¶ 67, citing Article at 12
     [sic], (p. 18 of Dkt. No. 17 1, Exhibit     •   Plaintiff’s expert witness testified that his
     A).)                                            opinion “was tentative and conditional,”
                                                     and “recommended technical and scientific
                                                     examinations of the paintings, which were
                                                     not done.” (¶ 71)

                                                 •   “Because of this conditional opinion, the
                                                     trial court said that it could not reach a
                                                     conclusion regarding authenticity.” (¶ 72)




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3.   “[Attorney] Sand was contacted by            “[T]aken as a whole,” falsely “implies that          Fair report of judicial proceeding.
     another former client of the Biros, an       plaintiff knowingly sold fake art” (¶ 74)            (Mem., pp. 8 14)
     art and antique collector named Saul
     Hendler, who has since died. According       Allegedly omitted:                                   Omitted facts not material/do not
     to court records and interviews with         • “Hendler was a dealer/collector who                change defamatory sting. (Mem., pp.
     Sand and Hendler’s wife, Marion, the            expressed interest in acquiring undervalued       27 30)
     Biros approached Hendler in 1983,               and undiscovered pieces. He was a repeat
     saying that they had found a suspected          client for restoration of artwork prior to this   Article does not adopt implication
     Renoir, signed by the artist, which, if         episode.” (¶ 75)                                  alleged. (Mem., pp. 31 32)
     authenticated, was worth millions of
     dollars. The Biros asked Hendler to
                                                  •   “[P]laintiff did not approach Hendler; it was
     front them nine thousand dollars to buy
                                                      the other way around.” (¶ 76)
     the painting, a portrait of a nude
     woman; the Biros would then
     authenticate the work and sell it, sharing   •   “The agreement between them was to
     the profits. Hendler gave them the               jointly acquire a painting of a seated nude
     money. Not long afterward, Peter Paul            signed ‘Renoir’ and explore its potential.”
     Biro consulted a leading Renoir expert,          (¶ 77)
     who determined that the painting was a
     fake and that the signature was forged.
                                                  •   Confronted with the negative opinion of a
     The Biros refunded Hendler half his
                                                      Renoir expert, “Hendler became belligerent
     money, and eventually agreed to give
                                                      and demand that all of his money back.”
     him the painting, which still had some
                                                      (¶ 79)
     value as a decorative piece.” (¶ 73,
     citing Article at 13 [sic] (p. 18 of Dkt.
     No. 17 1, Exhibit A).)                       •   “The court awarded [Hendler] half of the
                                                      purchase price... the other half representing
                                                      effort and cost of restoration and research
                                                      carried out by plaintiff.” (¶ 80)




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4.   “When Hendler picked up the picture,      “Taken as a whole,” falsely “implies that            Fair report of judicial proceeding.
     he thought that the composition looked    plaintiff switched one painting for another, or      (Mem., pp. 8 14)
     vaguely different. He had previously      fraudulently sold the painting determined by
     made a photo transparency of the          experts as not by Renoir as if it were authentic.”   Omitted facts not material/do not
     painting, and at home he compared it to   (¶ 82)                                               change defamatory sting, (Mem., pp.
     the canvas he had just been handed. ‘My                                                        27 30) and, moreover, were not in fact
     late husband was furious,’ Marion         Allegedly omitted:                                   omitted (See Dkt No. 17 1, Article at 19
     Hendler told me. ‘Then I saw it, and I    • “[T]he painting had undergone the removal          (reporting the Biros’ written response,
     was horrified. It was clearly not the        of large amounts of aged darkened varnish,        that the allegations were “‘false and
     same painting.’ Had the Biros sold the       and the undoing of prior alterations done to      untrue and defamatory,’ [and] adding
     original painting without telling            it in a previous restoration. As a result, the    that ‘the sole difference in the painting
     Hendler?” (¶ 81, citing Article at 13        restored painting no longer perfectly             was the work which had been performed
     [sic] (p. 18 of Dkt. No. 17 1, Exhibit       matched the appearance of its unrestored          on the painting by the Defendants in
     A).)                                         state.” (¶ 83)                                    lifting the paint in order to discover the
                                                                                                    original painting which had appeared on
                                                                                                    the canvas.’”))

                                                                                                    Article does not adopt implication
                                                                                                    alleged. (Mem., pp. 31 32)




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5.   “Hendler, unable to get back what he         “[T]aken as a whole” falsely “implies that             Fair report of judicial proceeding.
     considered the original painting, sued       plaintiff defrauded the Hendlers.” (¶ 85)              (Mem., pp. 8 14)
     the Biros for the rest of the money he
     had paid. In a written response, the         Allegedly omitted:                                     Omitted facts not material/do not
     Biros called the allegations ‘false and      • “[T]he Hendler’s claim was fully paid” and           change defamatory sting. (Mem., pp.
     untrue and defamatory,’ adding that ‘the        “Hendler executed a satisfaction of                 27 30)
     sole difference in the painting was the         judgment.” (¶¶ 86, 88)
     work which had been performed on the                                                                Article does not adopt implication
     painting by the Defendants in lifting the                                                           alleged. (Mem., pp. 31 32)
                                                  •   “[A]fter plaintiff purchased the painting
     paint in order to discover the original
                                                      back, Marion Hendler also demanded a
     painting which had appeared on the
                                                      signed Renoir for free, thrown in as part of
     canvas.’ During the trial, which took
                                                      the deal.” (¶ 86)
     place in 1992, Sand called to the stand
     an art expert who testified that the
     painting was not the same as the one         •   “[T]he Court had consigned the painting
     Hendler had bought. The court agreed,            back to plaintiff in return for the full refund,
     awarding Hendler several thousand                thus showing that Hendler had no
     dollars. But Marion asked me, ‘What              ownership interest in the first place.” (¶ 87)
     did we win?’ She went on, ‘Where’s
     that piece of art? We never got it back.
                                                  •   Marion Hendler defaulted in a defamation
     He probably sold it for a lot of money
                                                      action commenced by plaintiff in June
     and we got this piece of junk in return.’”
                                                      2011, “thereby admitting the allegations
     (¶ 84, citing Article at 13 [sic] (pp. 18
                                                      therein that the statements which she made
     19 of Dkt. No. 17 1, Exhibit A).)
                                                      to defend Grann were false.” (¶¶ 88, 89)




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6.   “Lawsuits had piled up against Peter        Falsely “implies that plaintiff concealed a theft,   Fair report of judicial proceeding.
     Paul Biro and his family business. In       or was a thief himself, and describes him as a       (Mem., pp. 8 14)
     two instances, there were allegations       liar.” (¶ 92)
     that art works had vanished under                                                                Article does not adopt implication
     mysterious circumstances while in the                                                            alleged. (Mem., pp. 31 32)
     care of Peter Paul. (¶ 91, citing Article
     at 13 [sic] (p. 19 of Dkt. No. 17 1,
     Exhibit A).)

7.   “Lawsuits had piled up against Peter        Mentions 2 instances of artwork not returned         Fair report of judicial proceeding
     Paul Biro and his family business. In       when there was only one (¶ 93)                       (Mem., pp. 8 14)
     two instances, there were allegations
     that art works had vanished under
     mysterious circumstances while in the
     care of Peter Paul. (¶ 91, citing Article
     at 13 [sic] (p. 19 of Dkt. No. 17 1,
     Exhibit A).)




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                    ADDENDUM B
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                                 NON PRIVILEGED STATEMENTS CHALLENGED AS FALSE

      Challenged Statement                                Alleged Falsity                            Failure to State Claim
8.    Plaintiff “has pioneered a radical new              “There is nothing radical about            Non defamatory (Mem., pp. 14
      approach to authenticating pictures.” (¶ 47,        fingerprints.” (¶ 48)                      16)
      citing Article at 5 [sic] (p. 6 of Dkt. No. 17 1,
      Exhibit A).)

9.    “[T]hough it was still early in the day, Biro       “[T]here is no ‘long wooden rack’ and it   Non defamatory (Mem., pp. 14
      reached into a long wooden racks filled with        was lunchtime, not ‘early in the day’.”    16)
      wine bottles and removed one... he poured           (¶ 54)
      himself some and offered me a glass.” (¶ 53,
      citing Article at 5 [sic] (p. 6 of Dkt. No. 17 1,
      Exhibit A).)

10.   “Elizabeth Lipsz, a Montreal businesswoman          “The excerpt is false and defamatory.”     Protected opinion (Mem., pp. 33
      who had once been close to Biro, and who            (¶ 101)                                    34)
      won a lawsuit against him for unpaid loans,
      described him to me as a ‘classic con man.’
      Her lawyer told me that Biro ‘was so
      convincing. He was very suave, soft spoken,
      but after a while you catch him in different
      lies and you realize that the guy is a phony.’”
      (¶ 100, citing Article at 13 14 [sic] (p. 19 of
      Dkt. No. 17 1, Exhibit A).)




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      Challenged Statement                                 Alleged Falsity                             Failure to State Claim
11.   Within Montreal’s small art world, there were        “The excerpt is false and defamatory...in   Protected opinion (Mem., pp. 33
      whispers about Peter Paul Biro and his father.       its use over the words, ‘he oiled his way   34)
      But the lawsuits appear to have attracted            out of that whole thing... He got away
      virtually no public attention. In 1993, Peter        scot free.’” (¶ 104)
      Paul Biro filed for bankruptcy, and he never
      paid many of the judgments against him,
      including what he owed the Wises and Joyal.
      Lipsz’s lawyer said of Biro, ‘He oiled his way
      out of that whole thing . . . . He got away
      scot free.’” (¶ 103, citing Article at 14 [sic]
      (p. 19 of Dkt. No. 17 1, Exhibit A).)

12.   “Surprisingly, at least five million dollars of      “[P]laintiff never authenticated Horton’s   Non defamatory (Mem., pp. 14
      investors’ money would also go to purchasing         painting.” (¶ 116)                          16)
      Teri Horton’s painting – even though Biro
      had authenticated the work...” (¶ 107, citing
      Article at 15 [sic] (p. 20 of Dkt. No. 17 1,
      Exhibit A).)

13.   “Biro previously had been suspected of               “The statement is false and defamatory.”    Protected opinion (Mem., pp. 33
      creating an investment scheme around a               (¶ 110)                                     34)
      seemingly precious object, with the promise
      that it would eventually reap huge profits . . . .
      Lafferty’s longtime business partner, Allan
      Aitken, told me that he believed that ‘Biro
      was either a shyster or a con man, and had
      found in Lafferty an easy mark.’” (¶ 109,
      citing Article at 15 16 [sic] (p. 22 of Dkt. No.
      17 1, Exhibit A).)




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                    ADDENDUM C
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                TRUE STATEMENTS ALLEGEDLY CONVEYING A NON PRIVILEGED FALSE IMPLICATION

    Challenged Statement                                False Implication Alleged                                   Failure to State Claim
14. Plaintiff “keeps finding famous fingerprints        “[M]ay reasonably be construed as accusing plaintiff of     Not capable of defamatory
    on uncelebrated works of art.” (¶ 29)               fraudulent conduct and incompetence in his profession,      meaning. (Mem., pp. 21 30)
                                                        by finding fingerprints where they do not exist.” (¶ 29)
                                                                                                                    No omitted material true facts.
                                                                                                                    (Mem., pp. 22 30)

                                                                                                                    Article does not adopt implication
                                                                                                                    alleged. (Mem., pp. 31 32)

15. “Biro, who is in his mid fifties, has a fleshy      “[M]akes plaintiff appear to be sinister” (¶ 52)            Not capable of defamatory
    pink face and a gourmand’s stomach, and he                                                                      meaning. (Mem., pp. 21 30)
    wore black slacks, a black turtleneck, and
    black shoes – his habitual raven like outfit. A                                                                 No omitted material true facts.
    pair of glasses dangled from a string around                                                                    (Mem., pp. 22 30)
    his neck, and he had thick sideburns and
    whitening black hair that stood on end, as if                                                                   Article does not adopt implication
    he had been working late.” (¶ 50, citing                                                                        alleged. (Mem., pp. 31 32)
    Article at 5 [sic] (p. 6 of Dkt. No. 17 1,
    Exhibit A).))

16. “[T]hough it was still early in the day, Biro       Falsely implies that “plaintiff drinks to excess.” (¶ 55)   Not capable of defamatory
    reached into a long wooden rack filled with                                                                     meaning. (Mem., pp. 21 30)
    wine bottles and removed one... he poured
    himself some and offered me a glass. ‘Every                                                                     No omitted material true facts.
    drop is precious,’ he said before finishing his                                                                 (Mem., pp. 22 30)
    glass and refilling it.” (¶ 53, citing Article at
    5 [sic] (p. 6 of Dkt. No. 17 1, Exhibit A).))                                                                   Article does not adopt implication
                                                                                                                    alleged. (Mem., pp. 31 32)




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    Challenged Statement                           False Implication Alleged                                   Failure to State Claim
17. Article’s 4 paragraph summary of plaintiff’s   “[T]aken as a whole” falsely “implies that Biro planted     Not capable of defamatory
    authentication of a Pollock fingerprint on a   or fabricated evidence to support his contention that the   meaning. (Mem., pp. 21 30)
    painting owned by Alex Matter and his          pictures were by Jackson Pollock.” (¶ 57)
    discovery of acrylic paint and gold paint                                                                  Omitted facts not material/do not
    particles in Pollock’s studio. (¶ 56, citing   Allegedly omitted:                                          change defamatory sting. (Mem.,
    Article at 11 [sic] (p. 15 of Dkt. No. 17 1,   • “[P]laintiff never stated that any of the Matter          pp. 27 30)
    Exhibit A).))                                     paintings were authentic Pollocks and has never
                                                      stated directly that Pollock used gold colored paint.”   Article does not adopt implication
                                                      (¶ 58)                                                   alleged. (Mem., pp. 31 32)

                                                   •   Plaintiff has never stated that the gold paint on the
                                                       Horton painting “matched” the specks of gold paint
                                                       he found on Pollock’s studio floor. (¶ 59)

                                                   •   “The actual detection of acrylate was made by Dr.
                                                       Nicholas Eastaugh, who analyzed the paint samples
                                                       using FTIR spectroscopy.” (¶ 61)

                                                   •   “Acrylic paints were not only available to Pollock,
                                                       but he actually did use them.” (¶ 62)




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    Challenged Statement                              False Implication Alleged                                   Failure to State Claim
18. Several paragraphs, beginning with “Biro was      “[T]aken as a whole” falsely “implies that plaintiff was    Not capable of defamatory
    part of an effort to launch a venture named       the initiator of a fraudulent investment scheme, and that   meaning. (Mem., pp. 21 30)
    Provenance” and ending with “(An associate        he planned as part of the scheme to falsely authenticate
    producer at ‘Roadshow’ had already sent Biro      art works.” (¶ 108)                                         Omitted facts not material/do not
    an email about possibly doing a segment on                                                                    change defamatory sting (Mem.,
    the Parkers’ ‘unbelievable discovery.’).”         Allegedly omitted:                                          pp. 27 30) and, moreover, were
    (¶ 107, citing Article at 15 [sic] (p. 20 21 of   • “[P]laintiff has never taken an interest in any of the    not in fact omitted (see Dkt No.
    Dkt. No. 17 1, Exhibit A).))                         works of art he is asked to analyze, but only charges    17 1, Article at 12 (“Biro told me
                                                         a daily fee plus expenses. He does not work on           that he maintains a firewall
                                                         contingency work for a percentage if a work is           between his research and the sale
                                                         sold...” (¶ 112)                                         of a painting, and that he receives
                                                                                                                  the same fee—two thousand
                                                                                                                  dollars a day—regardless of the
                                                      •   “Plaintiff has never asked for or received a bonus      outcome of his
                                                          from any client because of an attribution or opinion    investigation”); Article at 20
                                                          regarding authenticity.” (¶ 114)                        (reporting “Biro has always
                                                                                                                  publicly maintained that he had no
                                                                                                                  financial stake in Horton’s
                                                      •   “Since plaintiff’s bankruptcy filing, he not received   painting”); and Article at 27 (again
                                                          any money from the sale of an art work wherein he       reporting Biro’s assurance “that he
                                                          was involved in issues of authenticity. He is from      had no financial stake in Horton’s
                                                          time to time asked to take on cases on contingency,     painting” and Horton’s statement
                                                          but he refuses...” (¶ 115)                              “that she could not ‘let that get out
                                                                                                                  in the media that he has a
                                                                                                                  percentage, when he does not.’”))

                                                                                                                  Article does not adopt implication
                                                                                                                  alleged. (Mem., pp. 31 32), and in
                                                                                                                  fact, reports that “[t]he driving
                                                                                                                  force behind the venture was Tod
                                                                                                                  Volpe.” (Article at 20.)



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    Challenged Statement                             False Implication Alleged                                      Failure to State Claim
19. “When I asked Biro about the allegedly           Statement falsely “implies that plaintiff had in fact          Not capable of defamatory
    forged fingerprints on the Parkers’ painting,    forged fingerprints, and that his denial was a lie.” (¶ 119)   meaning. (Mem., pp. 21 30)
    he peered intently at his glass of wine. I
    suddenly noticed how blue his eyes were.                                                                        No omitted material facts. (Mem.,
    Calm again, he denied that he had ever forged                                                                   pp. 22 30)
    a fingerprint.” (¶ 118, citing Article at 19
    [sic] (p. 27 28 of Dkt. No. 17 1, Exhibit A).)                                                                  Article does not adopt implication
                                                                                                                    alleged. (Mem., pp. 31 32)

20. “[When] I asked whether their father had         Statement falsely “implies that plaintiff’s and his            Not capable of defamatory
    forged the fake Goodridge Roberts landscape,     brother’s understandable emotional reaction to having          meaning. (Mem., pp. 21 30)
    or the painting given to Saul Hendler, or any    their father accused of forgery and insulted in plaintiff’s
    other works of art, Laszlo stood up, circling    own home was somehow an admission of guilt.” (¶ 121)           No omitted material true facts.
    the table, and for the first time Peter Paul                                                                    (Mem., pp. 22 30)
    became agitated.” (¶ 120, citing Article at 19
    [sic] (p. 27 of Dkt. No. 17 1, Exhibit A).)                                                                     Article does not adopt implication
                                                                                                                    alleged. (Mem., pp. 31 32)

                                                                                                                    The Article presents Biro’s
                                                                                                                    reaction (“‘It is upsetting,’ he said.
                                                                                                                    ‘It’s pure fantasy.’”) and his denial
                                                                                                                    that his father ever engaged in
                                                                                                                    forgery (“It’s so easy to make this
                                                                                                                    kind of an accusation. Because
                                                                                                                    somebody’s a painter, therefore he
                                                                                                                    can forge. It’s like saying that if
                                                                                                                    somebody is a surgeon he can kill,
                                                                                                                    because he’s got a sharp
                                                                                                                    instrument in his hand.”) (Article
                                                                                                                    at 27.)




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    Challenged Statement                                False Implication Alleged                                   Failure to State Claim
21. “We discussed ‘Landscape with a Rainbow,’           Statement falsely “implies that the painting is only        Not capable of defamatory
    the purported Turner painting that was Peter        purportedly authentic, that plaintiff was the only person   meaning. (Mem., pp. 21 30)
    Paul Biro’s first fingerprint authentication        who claimed it to be authentic, and that it is not
    case.” (¶ 122, citing Article at 19, [sic] (p. 27   considered a genuine Turner.” (¶ 123).                      Omitted facts not material/do not
    of Dkt. No. 17 1, Exhibit A).)                                                                                  change defamatory sting (Mem.,
                                                        Allegedly omitted:                                          pp. 27 30) and, moreover, in most
                                                        • “[T]he fingerprints were not matched by plaintiff, but    cases were not in fact omitted (see
                                                           confirmed by a top British fingerprint expert named      Dkt. No. 17 1, Article at 11
                                                           John Manners. The painting was authenticated by          (reporting on Hill and Manner’s
                                                           David Hill, a well known Turner scholar, who to this     work on “Landscape with a
                                                           day stands by his opinion. The scientific work was       Rainbow.”: “the Biros took the
                                                           done by Dr. Nicholas Eastaugh and a specialist from      painting to a Turner scholar,
                                                           the Tate Gallery in London.” (¶ 124)                     David Hill, at the University of
                                                                                                                    Leeds. He thought that the
                                                                                                                    composition and coloring strongly
                                                                                                                    pointed to the hand of Turner, and
                                                                                                                    he enlisted John Manners, a
                                                                                                                    fingerprint examiner with the
                                                                                                                    West Yorkshire Police, to verify
                                                                                                                    Biro’s conclusions…he said, the
                                                                                                                    fingerprints definitely matched: ‘It
                                                                                                                    is a Turner.’ Hill called the
                                                                                                                    fingerprints the ‘clinching piece of
                                                                                                                    evidence.’”)

                                                                                                                    Article does not adopt implication
                                                                                                                    alleged. (Mem., pp. 31 32)




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    Challenged Statement                               False Implication Alleged                            Failure to State Claim
22. “Biro later noted that he had spent only a ‘few Statements falsely “imply plaintiff committed a fraud   Not capable of defamatory
    hours’ in Pollock’s studio, in the ‘presence of and that he was a thief.” (¶ 126)                       meaning. (Mem., pp. 21 30)
    staff,’ making it impossible for him to have
    made a rubber stamp. But when I asked                                                                   No omitted material facts. (Mem.,
    Helen Harrison, who oversees the studio,                                                                pp. 22 30)
    about this, she said, ‘That’s not true.’ Her
    records show that he visited four times, once                                                           Article does not adopt implication
    with Tod Volpe, and that he was ‘there for                                                              alleged. (Mem., pp. 31 32)
    hours.’ She said that she did not watch over
    him all that time; indeed, in her absence he
    had removed, ‘without authorization,’ a
    match from the floor, which he took to
    Montreal to analyze for possible paint
    particles.” (¶ 125, citing Article at 20 [sic] (p.
    28 of Dkt. No. 17 1, Exhibit A).)




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    Challenged Statement                              False Implication Alleged                                    Failure to State Claim
23. “By the time that Biro took on ‘La Bella          Statements falsely “imply that plaintiff’s reputation was    Not capable of defamatory
    Principessa,’ his reputation had become so        unwarranted, and that he was in fact a fraud.” (¶ 128)       meaning. (Mem., pp. 21 30)
    solid, and the public appetite for forensic
    solutions had become so strong, that he no        Allegedly omitted:                                           Omitted facts not material/do not
    longer seems to have worried about                • “[T]he more attention which plaintiff’s work               change defamatory sting. (Mem.,
    watermarking his evidence or presenting a            received, the more careful and meticulous he              pp. 27 30)
    perfect match. Many people, not just experts,        became.” (¶ 129)
    can look at a painting and argue over what                                                                     Article does not adopt implication
    they see, but few individuals, inside or                                                                       alleged. (Mem., pp. 31 32)
    outside the art world, can evaluate               •   “Plaintiff has never claimed to be a singular
    fingerprints. In that sense, Biro’s                   authority” on fingerprint identification, and “did not
    authentications were far less democratic than         ‘position[] himself’” as such. (¶¶ 130 31)
    traditional connoisseurship. Though he told
    me he did not want to be ‘judge and jury,’ he
    had positioned himself as a singular
    authority.” (¶ 127, citing Article at 21 [sic]
    (p. 30 of Dkt. No. 17 1, Exhibit A).)

24. “I followed Biro into his basement laboratory,    Statements “imply that plaintiff is concealing his own       Not capable of defamatory
    where his father’s landscape paintings hung. I    property because he has something to hide, and that he is    meaning. (Mem., pp. 21 30)
    wonder what had consigned them to this            protecting his father’s wrongdoing out of filial loyalty.”
    fate—hidden from the public, seen only by an      (¶ 133)                                                      No omitted material true facts.
    adoring son. They had, I thought a certain                                                                     (Mem., pp. 22 30)
    anguished beauty, but they also seemed
    derivative. Perhaps Biro’s father had lacked                                                                   Article does not adopt implication
    that divine spark of originality, or perhaps he                                                                alleged. (Mem., pp. 31 32) The
    had sacrificed it while inhabiting the skin of                                                                 Article reports that the father’s
    immortal artists.” (¶ 132, citing Article at 21                                                                paintings are “displayed
    [sic] (p. 30 of Dkt. No. 17 1, Exhibit A).)                                                                    throughout Biro’s house.” (Article
                                                                                                                   at 7.)




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